        Case 18-12246               Doc 6           Filed 10/16/18 Entered 10/16/18 15:21:25                      Desc Ch 7 First
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Information to identify the case:
Debtor 1              Virginia I. Spencer                                              Social Security number or ITIN        xxx−xx−9325
                      First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                       EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Tennessee                Date case filed for chapter 7 10/16/18

Case number:          18−12246      jlc


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15
    This notice is issued to reset a previously scheduled meeting/hearing and/or reflects corrected information − See
Item 14.

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Virginia I. Spencer

2.      All other names used in the
        last 8 years

3.     Address                               627 Keller St.
                                             Bolivar, TN 38008

4.     Debtor's attorney                         Louis W. Ringger                                   Contact phone (731) 421−1501
                                                 222 West Baltimore Street, Suite B                 Email: bankruptcy@ringgerlaw.com
       Name and address                          Jackson, TN 38301

5.     Bankruptcy trustee                        Michael T. Tabor                                   Contact phone (731) 424−3074
                                                 203 S. Shannon
       Name and address                          P.O. Box 2877
                                                 Jackson, TN 38302−2877
                                                                                                               For more information, see page 2 >
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Debtor Virginia I. Spencer                                                                                      Case number 18−12246             jlc


6. Bankruptcy clerk's office                     111 S Highland, Room 107                               Contact phone (731) 421−9300
                                                 Jackson, TN 38301
   Documents in this case may be filed at this                                                          Date: 10/17/18
   address. You may inspect all records filed
   in this case at this office or online at
   www.pacer.gov.


7. Meeting of creditors                          November 13, 2018 at 09:30 AM                          Location:

   Debtors must attend the meeting to be         The meeting may be continued or adjourned to a         109 South Highland, Room 102,
   questioned under oath. In a joint case,       later date. If so, the date will be on the court       Jackson, TN 38301
   both spouses must attend. Creditors may
   attend, but are not required to do so.        docket.


8. Presumption of abuse                          The presumption of abuse does NOT arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or            Filing deadline: 1/14/19
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 DEADLINE for Debtor to File Certification of Completion of Instructional Course
                                                 Concerning Financial Management: 1/14/19


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of creditors
                                                 as exempt. If you believe that the law does not
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.

13. Notice Of Abandonment                        This will serve notice that at the scheduled meeting on the reverse side, the Trustee
                                                 may announce which properties the trustee plans to abandon. An objection to the
                                                 Trustee's action may be filed within 14 days after the meeting of creditors.
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14. Other
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